Case: 3:15-cr-00054-wmc Document #: 66 Filed: 07/31/15 Page 1of1

CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED COUNSEL

 

 

 

 

 

1. CIR/DIST/DIV. CODE 2. PERSON REPRESENTED VOUCHER NUMBER
WIW CAMARA, AMADOU
3. MAG. DKT/DEF. NUMBER 4, DIST. DKT/DEF.NUMBER | 5. APPEALS DKT./DEF. NUMBER 6. OTHER DKT, NUMBER
3:15-000054-002
7. IN CASE/MATTER OF (Case Name) 8. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED 10, REPRESENTATION TYPE
nstructions
US v. CAMARA, AMADOU Felony Adult Defendant Criminal Case

 

 

 

 

11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) _ If more than one offense, list (up to five) major offenses charged, according to severity of offense.

1) 21 846=MD.F -- CONSPIRACY TO DISTRIBUTE MARIJUANA

 

 

12. ATTORNEY'S NAME (First Name, M.L, Last Name, including any suffix) 13, COURT ORDER
AND MAILING ADDRESS {%] © Appointing Counsel O C Co-Counsel
DUTCH, GREGORY OF Subs For Federal Defender OR Subs For Retained Attorney
L AW OFFICE OF GREGORY N DUTCH = P Subs For Sei Attorney O Y Standby Counsel
jor Attorney's Name:
119 MARTIN LUTHER KING JR BLVD Appointment Dates —
MADISON WI 53703-3355 A Because = oreo vee ere has : tified ened oath bo has ;
0 sa cou at he or she fina: una em cou and

Telephone Number: _ (608) 66 1-5 100 (2) does not wish pli sconuk ons vomne the jhte . of. heats so aa: oe

 

'y whose name appears in Item 12 is appointed th represent this person in this case,

  
 
 

14, NAME AND MAILING ADDRESS OF LAW FIRM (only provide per instructions)| or
1 Other (See Instructions)

   

 

Signature of Presiding Judicia y Order of the Court
06/02/2015
Date of Order Nunc Pro Tunc Date

 

Repayment or partial repayment ordered frgm the person represented for this service at
time of appointment. O YES NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CATEGORIES (Attach itemization of services with dates) Chena amount | ‘AdsustED'| MbyUSTEae ADDITIONAL
CLAIMED HOURS AMOUNT

15. a. Arraignment and/or Plea

b. Bail and Detention Hearings

c. Motion Hearings
Y | a. Trial
Cc e. Sentencing Hearings
t f. Revocation Hearings
i g. Appeals Court

h. Other (Specify on additional sheets)

(Rate per hour = $ ) TOTALS:
16. a. Interviews and Conferences
¢ b. Obtaining and reviewing records
o c, Legal research and brief writing
‘ d. Travel time
¢ e. Investigative and Other work (Specify on additional sheets)
t (Rate per hour =$ ) TOTALS:
17. | Travel Expenses (lodging, parking, meals, mileage, etc.)
18. Other Expenses (other than expert, transcripts, etc.
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE 20, APPOINTMENT TERMINATION DATE 21. CASE DISPOSITION
FROM TO IF OTHER THAN CASE COMPLETION

22. CLAIM STATUS O Final Payment Oi Interim Payment Number _____ C Supplemental Payment

Have you previously applied to the court for compensation and/or remimbursement for this case? O YES (1) NO _Ifyes, were you paid? O YES O NO
Other than from the court, have you, or to your knowledge has anyone else, received payment (compensation or anything or value) from any other source in connection with this
representation? O YES OO NO Ifyes, give details on additional sheets.

I swear or affirm the truth or correctness of the above statements,

 

Signature of Attorney: ee

     

 

 

 

 

 

23. IN COURT COMP. 24. OUT OF COURT COMP. 25, TRAVEL EXPENSES 26. OTHER EXPENSES 27. TOTAL AMT. APPR / CERT
28, SIGNATURE OF THE PRESIDING JUDICIAL OFFICER DATE 28a. JUDGE / MAG. JUDGE CODE
29, IN COURT COMP, 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32, OTHER EXPENSES 33. TOTAL AMT. APPROVED
34, ATURE OF Gee ee aL ‘OF APPEALS (OR DELEGATE) Payment DATE 34a, JUDGE CODE

 

 

 

 

 
